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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                             AT COVINGTON
                                    :
ESTATE OF BRADLEY GROTE             : Civil Action No.: 2:20-CV-101
                                    :
                                    : Judge William O. Bertelsman
          Plaintiff,                : Magistrate Judge Candace J. Smith
                                    :
v.                                  :
                                    :
KENTON COUNTY, KENTUCKY et al.,     :
                                    :
          Defendants.

   DEFENDANTS SOUTHERN HEALTH PARTNERS, INC. AND CAITLIN BRAND’S
                 MOTION FOR SUMMARY JUDGMENT

         Defendants, Southern Health Partners, Inc. (“SHP”) and Caitlin Brand, LPN (hereinafter

“Defendants”), by and through counsel, hereby move this Court to enter summary judgment in their

favor pursuant to Fed. R. Civ. P. 56. These Defendants are entitled to summary judgment for

multiple reasons. First, Plaintiff has produced no evidence of the deliberate indifference to the care

of Bradley Grote as is required for a 42 U.S.C. §1983 claim. Second, Plaintiff lacks the expert

testimony needed to establish causation as to the death of Bradley Grote both for the deliberate

indifference claim and state law negligence claims. Lastly, Plaintiff has not provided any evidence to

support her claims for infliction of emotional distress or punitive damages. These reasons are

explained in greater detail in the Memorandum in Support below.

                                               Respectfully,

                                               /s/ Aimee E. Muller______________
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                                 MEMORANDUM IN SUPPORT

         I.        FACTUAL BACKGROUND

         On July 19, 2019, Bradley Grote, the son of Plaintiff Luanna Grote, left home in a vehicle

with Bethany Fuston. [See Deposition of Luanna Grote, pg. 34, Exh. 1.] After picking up other

occupants, the vehicle was pulled over by the Covington Police Department (“CPD”). CPD

Detective Samuel Matthews initiated a traffic stop at 2:52 p.m. due to observing passenger Carolyn

Brun without a seatbelt. [See Deposition of Samuel Matthews, pg. 8, Exh. 2; see also, Uniform

Citation, Exh. 3.] At the onset of the traffic stop, Officer Matthews witnessed the front seat

passenger throw objects out the window of the vehicle. [See Matthews Dep., pg. 9.] The front seat

passenger was later identified as Bradley Grote.

         The thrown objects were recovered and collected as evidence. Those objects included two

used syringes and a baggie of methamphetamine. Id. During the search of the vehicle and of the

person of Mr. Grote no additional drugs were found. Id. pp. 9-10. Mr. Grote was ultimately taken

into custody related to the incident, as well as for an outstanding arrest warrant. Id. pp. 31-33. It was

later discovered that at some point during this interaction, Mr. Grote secretly swallowed a bag of

methamphetamine. 1 This would be a fatal decision.

         During the traffic stop investigation and transport to the Kenton County Detention Center

Mr. Grote did not show any signs of physical impairment. Id. at 10. Det. Matthews then transferred

custody of Mr. Grote to Kenton County Detention Center (“KCDC”) Deputy Brown. Id. Body

camera footage just prior to accepting Grote into custody at KCDC confirms that upon questioning,

         1
        As addressed in the Kenton County Defendants’ Motion for Summary Judgment [DN 116,
p. 10, footnote 7], the evidentiary timeline establishes that Mr. Grote swallowed a bag of
methamphetamine near the time of his arrest. The evidentiary timeline is consistent with Plaintiff
Luanna Grote’s opinion. Ms. Grote, who was familiar with her son’s drug use and the signs and
symptoms of it, believed her son was sober when he left their home just prior to his arrest. [Grote
Dep., Exh. 1, at 59.]


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Mr. Grote informed Dep. Brown that he did not have any drugs on his person and that he would not

be coming off any drugs or detoxing while incarcerated at KCDC. 2 [See, Video “Cov. Body Cam

custody transfer” at 19:57 UTC.] Mr. Grote then underwent a routine over-the-clothes pat down

search. [See Deposition of Alexander Brown, pp. 8-9, Exh. 4.] Deputy Brown believed Mr. Grote

showed signs that he was clenching his buttocks, which he believed could be indicative of an inmate

attempting to conceal contraband. Id. After obtaining the necessary authority, Deputy Brown

performed an unclothed search. No drugs or other contraband were found. Id.

         Mr. Grote next was taken to the booking clerk, Sarah Bell. At the request of Ms. Bell, Mr.

Grote completed and signed a Medical Questionnaire in which he indicated that he had not recently

ingested poisonous levels of drugs. [See Deposition of Sarah Bell, pp. 29-30, Exh. 5; see also,

Medical Questionnaire, Exh. 6.]

         On the date of Mr. Grote’s arrest, KCDC contracted with SHP to provide medical services to

KCDC in accordance with 501 KAR 3:090. [See Medical Services Agreement, Exh. 7.] SHP

employed both Nurse Caitlin Brand and Tiara Dockery, 3 the two employees on shift at the time Mr.

Grote arrived at KCDC. [See SHP Time Records, Exh. 9.]

         After Mr. Grote’s interaction with booking clerk Sarah Bell, Nurse Brand was summoned,

non-urgently, for a medical examination of Mr. Grote. [See Deposition of Caitlin Brand, p. 98, Exh.

10.] Upon her arrival, Nurse Brand questioned Mr. Grote about whether he had consumed any

drugs and checked his vital signs. Id. at 91. Mr. Grote stated he had used 0.5g methamphetamine at


         2
         All body camera and surveillance camera footage related to this incident was previously
delivered to the Court on USB drive. In order to ensure consistency in citations, these Defendants
will include an identified file name for each video referenced in the same manner as the Kenton
County Defendants in their Motion for Summary Judgment [DN 116].
         3
         Ms. Dockery has been employed with Southern Health Partner, Inc. in a clerk position
as well as a medical technician position. She is unsure of her title on July 19, 2019, but for the
purposes of this litigation, it is irrelevant. [See Deposition of Tiara Dockery, pg. 29. Exh. 8.]


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noon that day, which was over four hours prior to the time of Nurse Brand’s medical examination.

[See Video “Grote,_Bradley_booking_South”.]            Mr. Grote also stated he was a daily

methamphetamine user. Id. Nurse Brand was well aware that 0.5g methamphetamine for a daily

user was common, and not a reason to seek emergency medical services. 4

         At the beginning of Nurse Brand’s initial medical assessment, Mr. Grote’s oxygen saturation

was 89%. She provided supplemental Oxygen and advised Mr. Grote to breathe in though his nose

and out through his mouth. Mr. Grote’s oxygen saturation quickly returned to an appropriate 96%.

[See Medical Chart Entry of Nurse Brand, Exh. 12.] Nurse Brand also attempted to take Mr. Grote’s

blood pressure, but was unable to do so due to Mr. Grote being unable to hold still. Id. [See also,

Brand Depo, p. 100.]

         At the time of his initial assessment, Mr. Grote’s symptoms were consistent with a

methamphetamine detox. Accordingly, Nurse Brand treated it as such.5 [See, Brand Depo., pp. 100-

101.] She ordered Mr. Grote be placed on observation and checked every 10-15 minutes to monitor

any change in his condition. Id. at 106. KCDC deputies then escorted Mr. Grote to holding cell B4,

an area near booking and the medical office.

         Mr. Grote entered cell B4 at 4:39 p.m.6 KCDC deputies were alerted by a Class D inmate

performing cleaning duties in the area near cell B4 that Mr. Grote was seizing at 5:35 p.m. In the

less than one hour between the time Mr. Grote entered the cell and the time deputies were alerted to


         4
         Nurse Brand testified at deposition that 0.5g did not indicate an overdose amount of
methamphetamine. [See Brand Dep., pg. 100.] Defense toxicology expert, Dr. Akpunonu, confirms
the reported 0.5g of methamphetamine for a known daily user is not an excessive amount of
methamphetamine. [See Dr. Akpunonu Report, Exh. 11.]
         5
        Mr. Grote’s symptoms were consistent with a variety of intoxicants, withdrawal symptoms,
and psychiatric illness. [See Dr. Akpunonu Report, Exh. 11.]
         6
         The time Mr. Grote entered cell B4 and all observations of him are able to be verified
via the overhead surveillance footage.


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a seizure, there were more than seven instances of KCDC staff walking the area near the cell,

opening the cell door, or peering through the window to check on Mr. Grote. [See Overhead

Surveillance Video.]

         Nurse Brand was paged “Signal 6,” a medical emergency, at 5:35 p.m. [See, Brand Dep., pp

66.] She arrived to cell B4 one minute later. [See, Overhead Surveillance Video.] Nurse Brand

placed an ammonia inhalant under Mr. Grote’s nose without significant response. [See Brand Dep.,

pp. 69-70.] Nurse Brand also began monitoring Mr. Grote’s Oxygen saturation level via a pulse ox

monitor. Id. Once Nurse Brand determined she would not be able to correct Mr. Grote’s vital signs,

she immediately requested that Sgt. Russel call 911. [See Brand Dep., pp. 72-73. See also,

Deposition of Jason Russell, p. 74, Exh. 13.] The call was placed at 5:42 p.m. Covington Fire

Department arrived on scene at 5:53 p.m. and prepared Mr. Grote for transport to St. Elizabeth

Hospital. [See Overhead Surveillance Video, generally.]

         As nurse Brand arrived at the cell at 5:36 p.m. and the 911 call was placed at 5:42 p.m., the

evidentiary timeline establishes that she was only in cell B4 for 6 minutes. These 6 minutes includes

her entering the cell, taking Mr. Grote’s vitals, providing supplemental Oxygen, utilizing ammonia

inhalants and requesting Sgt. Russell to call for emergency medical services. Her actions do not even

arguably constitute a delay in treatment.

         It was later discovered that Mr. Grote had a methamphetamine concentration in his blood of

7.57mg/L. [See Dr. Akpunonu Report, Exh. 11.] Death is known to occur with a methamphetamine

concentration of only 0.54mg/L. Id. This means that not only did Mr. Grote ingest more than a

lethal dose of methamphetamine, he actually ingested over 14 times a lethal dose, and then lied

about it to medical staff attempting to help him. As there is no antidote for methamphetamine

toxicity and any decontamination procedures would have limited effectiveness, Mr. Grote

unfortunately could not have been saved anyway. [See Dr. Akpunonu Report, Exh. 11, Opinion 3.]


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After life saving treatment was attempted at St. Elizabeth Hospital, Mr. Grote became in a comatose

state and ultimately passed away as a result of acute methamphetamine toxicity on July 21, 2019.

[See Death Certificate, Exh. 14.]

         While the circumstances surrounding Mr. Grote’s death are undoubtedly tragic, they are not

the result of any medical negligence on the part of Nurse Brand or Southern Health Partners, Inc.

Mr. Grote’s decision to secretly swallow a baggie of methamphetamine placed him on a collision

course with certain death. His decision to conceal his actions and intentionally mislead jail and

health care staff about his actions further cemented his fate.

         II.       LEGAL STANDARD

         Summary judgment is appropriate where “the pleadings, discovery and disclosure materials

on file, and any affidavits show that there is no genuine issue as to any material fact and that the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c)(2); Celotex Corp. v.

Catrett, 477 U.S. 317, 323-25 (1986). “A genuine dispute exists on a material fact, and thus

summary judgment is improper, if the evidence shows ‘that a reasonable jury could return a verdict

for the nonmoving party.’” Olinger v. Corporation of the President of the Church, 521 F. Supp. 2d

577, 582 (E.D. Ky. 2007) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)).

Stated otherwise, “[t]he mere existence of a scintilla of evidence in support of the plaintiff’s position

will be insufficient; there must be evidence on which the jury could reasonably find for the

plaintiff.’” Anderson, 477 U.S. at 252.

         The moving party has the initial burden of demonstrating the basis for its motion and

identifying those parts of the record that establish the absence of a genuine issue of material fact.

Chao v. Hall Holding Co., Inc., 285 F.3d 415, 424 (6th Cir. 2002). The movant may satisfy its

burden by showing “that there is an absence of evidence to support the non-moving party’s case.”

Celotex Corp., 477 U.S. at 325. Once the movant has satisfied this burden, the non-moving party


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must go beyond the pleadings and come forward with specific facts demonstrating the existence of a

genuine issue for trial. Fed. R. Civ. P. 56; Hall Holding, 285 F.3d at 424 (citing Celotex, 477 U.S. at

324). Moreover, “the nonmoving party must do more than show there is some metaphysical doubt

as to the material fact. It must present significant probative evidence in support of its opposition to

the motion for summary judgment.” Hall Holding, 285 F.3d at 424 (internal citations omitted).

         When applying the summary judgment standard, the Court must review the facts and draw all

reasonable inferences in favor of the non-moving party. Logan v. Denny's, Inc., 259 F.3d 558, 566

(6th Cir. 2001) (citing Liberty Lobby, 477 U.S. at 255). However, the Court is under no duty to

“search the entire record to establish that it is bereft of a genuine issue of material fact.” In re

Morris, 260 F.3d 654, 655 (6th Cir. 2001). Rather, “the nonmoving party has an affirmative duty to

direct the court’s attention to those specific portions of the record upon which it seeks to rely to

create a genuine issue of material fact.” Id.

         III.      ANALYSIS

                   A. Deliberate Indifference

         To prevail on a claim under 42 U.S.C. § 1983, a plaintiff must establish both (1) that he was

deprived of Constitutionally-protected rights, and (2) that the defendant at issue deprived him of

those rights under color of law. Jones v. Duncan, 840 F.2d 359, 360-61 (6th Cir. 1988). In alleging

that Southern Health Partners, Inc., through nurse Brand violated Mr. Grote’s constitutional rights,

Plaintiff only generally asserts that all the Defendants, including nurse Brand and KCDC employees,

were deliberately indifferent to Mr. Grote’s serious medical need by failing to summon emergency

medical services quicker than they did. To prevail on the claim against nurse Brand, Plaintiff must

show that (1) Mr. Grote had an objectively serious medical need; and (2) nurse Brand subjectively

perceived a risk of harm and then disregarded it. Comstock v. McCrary, 273 F.3d 693, 702-03 (6th

Cir. 2001).


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         These defendants do not dispute the first element of the deliberate indifference test that Mr.

Grote had an objectively serious medical need. Rather, these Defendants argue that Nurse Brand did

not subjectively perceive the risk of harm and chose to disregard it.

                   1. Plaintiff Cannot Demonstrate that Nurse Brand Subjectively Perceived and
                      then Recklessly Disregarded a Serious Medical Need

         The subjective second component is not satisfied by mere negligence but instead requires

reckless disregard for the prisoner’s serious medical need. Comstock, 273 F.3d at 702-03; Horn v.

Madison County Fiscal Court, 22 F.3d 653, 660 (6th Cir. 1994). Indeed, “[i]t is obduracy and

wantonness, not inadvertence or error in good faith, that characterize the conduct prohibited by the

Cruel and Unusual Punishment Clause.” Whitley v. Albers, 475 U.S. 312, 319 (1986).

         To show the requisite subjective disregard, the prisoner must show (1) that the state official

was aware of facts from which an inference could be drawn that a substantial risk of serious harm

existed to the prisoner, (2) that the official drew the inference of substantial risk, and (3) that he

disregarded that risk. Farmer v. Brennan, 511 U.S. 825, 837 (1994). As such, the deliberate

indifference standard “describes a state of mind more blameworthy than negligence.” Id. at 835.

         This subjective component of the deliberate indifference standard is intended to avoid the

constitutionalization of medical malpractice claims. Comstock v. McCrary, 273 F.3d 693, 703 (6th

Cir. 2001). If “a prisoner has received some medical attention and the dispute is over the adequacy

of the treatment, federal courts are generally reluctant to second guess medical judgments and to

constitutionalize claims which sound in tort law.” Westlake v. Lucas, 537 F.2d 857, 860 n.5 (6th Cir.

1976). Thus “[w]here the claimant received treatment for his condition, as here, he must show that

his treatment was ‘so woefully inadequate as to amount to no treatment at all.’” Mitchell v.

Hininger, 553 F. App'x 602, 605 (6th Cir. 2013) (quoting Alspaugh v. McConnell, 643 F.3d 162, 169

(6th Cir. 2011)). “For example, ‘[w]hen a prison doctor provides treatment, albeit carelessly or

inefficaciously, to a prisoner, he has not displayed a deliberate indifference to the prisoner's needs,
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but merely a degree of incompetence which does not rise to the level of a constitutional violation.'"

Comstock, 273 F.3d at 703.

         At best, Plaintiff’s claim is a failure to recognize the severity of a medical condition.

Plaintiff maintains, without support, that Nurse Brand should have requested an ambulance for Mr.

Grote immediately upon encountering him for the first time in the booking area. However, this

position is not supported even by Plaintiff’s own expert, Dr. Keller. According to Dr. Keller,

methamphetamine intoxication is not necessarily a medical emergency that would warrant sending a

patient out of the jail; it depends on the severity. [See, Deposition of Dr. Jeffrey Keller, pg. 8. Exh.

15.]

         For Plaintiff to succeed on a deliberate indifference claim, Nurse Brand had to be subjectively

aware of the aware of the serious medical condition. “To meet the subjective component, the

plaintiff must show that an official knew of and disregarded an excessive risk to inmate health or

safety. An express intention to inflict unnecessary pain is not required. Still, the plaintiff must

demonstrate that the official was aware of facts from which an inference of substantial risk of serious

harm to inmate health or safety could be drawn and that the official actually drew the inference.”

Brawner v. Scott Cty., 14 F.4th 585, 591 (6th Circ. 2021).

         All of Mr. Grote’s symptoms in the non-urgent medical assessment in booking were

consistent with a methamphetamine detox. Methamphetamine detox was also consistent with the

statements of Mr. Grote that he had taken 0.5g of methamphetamine at noon that day, four hours

before Nurse Brand’s initial encounter with Mr. Grote. Nurse Brand testified she believed he was

experiencing non-emergent methamphetamine detox. [See Brand Dep., pg. 100-101.] At Mr.

Grote’s initial assessment in booking his symptoms did not indicate a methamphetamine overdose

nor did Nurse Brand actually know of any reason to suspect an overdose. Id.

         Moreover, as Plaintiff has no expert proof that Nurse Brand was negligent in her care, he


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certainly cannot meet the heightened burden of establishing Nurse Brand was deliberately

indifferent to Grote’s serious medical need. Accordingly, Plaintiff’s constitutional claim against

Nurse Brand and Southern Health Partners, Inc. necessarily fails for failure to establish these

Defendants committed a constitutional violation.

                   2. Plaintiff Cannot Establish that a Delay in Treatment was the Proximate Cause
                      of Mr. Grote’s death.

         In addition, Plaintiff’s constitutional claim fails for another reason. A § 1983 claim for

recovery of monetary damages for the violation of one’s constitutional rights is not only a

constitutional claim, subject to the principles and case law set forth above, but it is also a tort claim

subject to the fundamental principles of tort law. See Wooler v. Hickman Cty., 2008 U.S. Dist.

LEXIS 104983, *21-24 (W.D. Ky. Dec. 30, 2008), citing Molnar v. Care House, 574 F. Supp. 2d

772 (E.D. Mich. 2008) (“general principles of tort law govern liability imposed by § 1983”) (citing

Horn by Parks v. Madison County Fiscal Court, 22 F.3d 653, 659 (6th Cir. 1994)). In other words,

to successfully bring a claim for deliberate indifference to Mr. Grote’s serious medical needs under

the Eighth Amendment, Plaintiff must not only show the existence of (1) a serious medical need, and

(2) deliberate indifference to that need by the Defendants, but also (3) a causal connection between

the Defendants’ deliberate indifference and his injuries. Id., citing Calhoun v. Volusia County, 499

F. Supp. 2d 1299, 1302-03 (M.D. Fla. 2007).

         This element is as critical as the former two elements since compensatory damages cannot be

awarded for a violation of constitutional rights absent proof of actual injury, i.e. injury caused by the

violation. See Wooler, at *21-24, citing Stachura, 477 U.S. at 308; Carey v. Piphus, 435 U.S. 247,

264, (1978) (Plaintiff could only recover compensatory damages if he proved actual injury caused by

the denial of his constitutional rights.). Accordingly, “proximate causation is an essential element of

a § 1983 claim for damages.” Horn, 22 F.3d at 659 (6th Cir. 1994) (citing Doe v. Sullivan County,

Tenn., 956 F.2d 545, 550 (6th Cir. 1992); Ellis v. Washington County & Johnson County, Tenn., 198
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F.3d 225, 226 (6th Cir. 1999) (summary judgment appropriately entered in § 1983 action where

plaintiff failed to show proximate causation)).

         Here, without adequate and reliable expert proof, Plaintiff alleges that the delay in

treatment and failure to recognize the overdose resulted in Mr. Grote’s death. However, as

discussed above, Mr. Grote secretly swallowed 14 times the amount of methamphetamine known

to be lethal. Even if Mr. Grote arrived at the emergency room sooner, there would have been no

treatment which could have saved his life. There is no such thing as an antidote for

methamphetamine toxicity. As explained by Dr. Akpunonu, any decontamination efforts would

have had limited effectiveness. He cannot say with any level of certainty that earlier transport to

the emergency room would have saved Mr. Grote’s life. [See, Dr. Akpunonu Report, Exh. 11.]

Without reliable testimony 7 or evidence of causation, Plaintiff’s 1983 claim fails as a matter of

law.

                   B. State Law Negligence Claims

         Plaintiff has raised a generic state law negligence claim against all the defendants in this

case. Although poorly pled, Plaintiffs essentially argue that the defendants (1.) failed to train

employees who interacted with inmates in the detection and use of proper and immediate medical

care; (2.) denied medical care to Mr. Grote; and (3) failed to follow policies and procedures of the

Kenton County Detention Center and Southern Health Partners, Inc. [See, Complaint ¶145-152,

DN 1, Page ID 26-27.]

         Plaintiff’s state law negligence claims have the clear appearance of including everything

Plaintiff could think of in an attempt to see what would stick. All of these claims fail for the same

         7
         Plaintiff disclosed Dr. Jeffrey Keller as an expert in this case. Dr. Keller opined that had
Mr. Grote arrived at the emergency room sooner his life may have been saved. These Defendants
have addressed in a separate Motion to Exclude the Opinions of Dr. Keller that these opinions
are unreliable and must be excluded.


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reason. Plaintiff cannot establish a causal link between any of the alleged negligent acts and the

harm suffered.

         The elements of a Kentucky negligence claim are well established. Plaintiff must prove the

existence of (1) a duty; (2) breach of the duty; (3) causation; and (4) damages. Kendall v. Godbey,

537 S.W.3d 326, 331 (Ky. Ct. App. 2017). “Causation consists of two distinct components: but-for

causation, also referred to as causation in fact, and proximate causation. Literally speaking, there

can never be only one cause of any result. Every cause is a collection of many factors, some

identifiable and others not, all determined by prior events. The law seeks out only the collective

cause or causes for which it lays responsibility on some person or persons. But-for causation

requires the existence of a direct, distinct, and identifiable nexus between the defendant's breach of

duty (negligence) and the plaintiff's damages such that the event would not have occurred but for

the defendant's negligent or wrongful conduct in breach of a duty. An act or omission is not

regarded as a cause of an event if the particular event would have occurred without it.”

Patton v. Bickford, 529 S.W.3d 717, 730 (Ky. S. Ct 2016). Kentucky also utilizes the substantial

factor test to establish causation. “This standard requires the plaintiff to prove that the defendant's

conduct was a substantial factor in bringing about the plaintiff's harm. Substantial-factor causation

analysis takes into account the likelihood of multiple causes.” Mannahan v. Eaton Corp., 2016 Ky.

App. LEXIS 120 *6. The burden to prove causation always resides with the plaintiff. Id. *10.

         It is abundantly clear that Plaintiff cannot establish that the actions of Nurse Brand were the

cause of Mr. Grote’s death. Mr. Grote’s death was caused by him secretly swallowing a baggie of

methamphetamine and then lying to Nurse Brand about his actions as she attempted to help him.

As discussed in greater detail above, Dr. Akpunonu, a toxicologist, has opined that any

decontamination efforts would have had limited effectiveness. He cannot say with any level of

certainty that earlier transport to the emergency room would have saved Mr. Grote’s life. [See, Dr.


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Akpunonu Report, Exh. 11].

         Plaintiff cannot demonstrate proof of causation that any action by Nurse Brand would have

been able to save Mr. Grote’s life after he swallowed a baggie containing 14 times a lethal dose of

methamphetamine.

                   C. Intentional Infliction of Emotional Distress Claim

         Plaintiff’s claim for infliction of emotional distress is equally as meritless as the other

claims 8. In Kentucky, the tort of intentional infliction of emotional distress is a “gap-filler” tort,

but it can stand alone on appropriate facts. Childers v. Geile, 367 S.W.3d 576, 581 (Ky. S. Ct.

2012). “A litigant cannot prevail on both a negligence claim and an intentional infliction of

emotional distress claim on the same set of facts.” Id. “Emotional distress, standing alone, does

not result in liability from an actor's conduct unless his intentional (or reckless) conduct is aimed

toward causing emotional distress, is outrageous, and does cause severe emotional distress.

Emotional distress as stand-alone damages can only be compensated through the tort of intentional

infliction of emotional distress. In all other instances, emotional distress (mental pain and

suffering) follows a personal injury, and is only compensable as a by-product of that injury.” Id. at

582.

         To recover under a theory of intentional infliction of emotional distress, the tortfeasor’s

conduct must be intentional or reckless. Id. The alleged mental distress Mr. Grote suffered is the

by-product of the alleged medical negligence. Accordingly, intentional infliction of emotional

distress was not the proper claim to be brought in this matter.


         8
          Plaintiff makes a generical claim for “Infliction of Emotional Distress” in ¶159-163 of
Plaintiff’s Complaint. [DN 1. Page ID 28-29]. Plaintiff’s Complaint does not specify if Plaintiff
intends to make a claim for negligent or intentional infliction of emotional distress. However, in
¶ 162, Plaintiff uses language of “extreme, outrageous, and intolerable” and so Defendants can
only assume Plaintiff intends to make a claim for intentional infliction of emotional distress.


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         The first reason that Plaintiff’s emotional distress claim fails is because Plaintiff cannot

establish that Nurse Brand acted intentionally or recklessly. Rather, the evidence shows that Nurse

Brand monitored vital signs, provided all medical care within her ability, and requested emergency

services upon recognizing a medical emergency.             Her conduct was appropriate for the

circumstance and did not even breach the standard of care owed by her as a nurse, much less would

her conduct have been intentional or reckless. Second, the infliction of emotional distress cannot be

maintained on the same set of facts as a negligence claim. Plaintiff’s claim is more akin to one of

negligence than of infliction of emotional distress. Accordingly, this Court must dismiss the claim

for infliction of emotional distress.

                   D. Punitive Damages Claim

         Plaintiff has provided no evidence which warrants punitive damages in this case either for

the state law negligence claims or the deliberate indifference claim. For similar reasons,

Defendants are entitled to summary judgment on all of Plaintiff’s claims for punitive damages.

                   1. Punitive Damages for State Law Negligence Claims

         Pursuant to KRS 411.184(2), Kentucky’s punitive damages statute, “A plaintiff shall

recover punitive damages only upon proving, by clear and convincing evidence, that the defendant

from whom such damages are sought acted toward the plaintiff with oppression, fraud or malice.”

         The Kentucky legislature has clearly defined the meanings of oppression, fraud and malice.

“Oppression” means conduct which is specifically intended by the defendant to subject the plaintiff

to cruel and unjust hardship. “Fraud” means an intentional misrepresentation, deceit, or

concealment of material fact known to the defendant and made with the intention of causing injury

to the plaintiff. “Malice” means either conduct which is specifically intended by the defendant to

cause tangible or intangible injury to the plaintiff or conduct that is carried out by the defendant

both with a flagrant indifference to the rights of the plaintiff and with a subjective awareness that


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such conduct will result in human death or bodily harm. KRS 411.184(1)(a-c).

         In order to recover, Plaintiff must establish proof that Nurse Brand acted with oppression,

fraud or malice. No such proof exists in this case. The evidence clearly establishes that Nurse

Brand was acting in accordance with her training as a nurse and was relying on statements made by

Mr. Grote about the timing and amount of methamphetamine he has used. At best, her conduct

would be negligent if she failed to recognize signs of an overdose. It does not rise to the level of

oppression, fraud or malice.

         Furthermore, Kentucky’s punitive damage statute expressly prohibits punitive damages

from being assessed against an employer, in this case Southern Health Partners, Inc., for Brand’s

conduct. Pursuant to KRS 411.184(3), “In no case shall punitive damages be assessed against a

principal or employer for the act of an agent or employee unless such principal or employer

authorized or ratified or should have anticipated the conduct in question.” There has been no such

evidence in this case. Accordingly, these Defendants are entitled to summary judgment on

Plaintiff’s punitive damages claim.

                   2. Punitive Damages for Deliberate Indifference Negligence Claim

         In order to recover punitive damages for a 42 U.S.C. § 1983 deliberate indifference claim

the defendant must willfully and intentionally violates another's civil rights or acts with reckless or

callous indifference to the federally protected rights of others. Murphy v. Gilman, 551 F. Supp. 2d

677, 684 (W.D. MI 2008) quoting Gordon v. Norman, 788 F.2d 1194 (6th Circ. 1984).

         The analysis remains the same. There has been no evidence Nurse Brand acted willfully or

intentionally to violate Mr. Grote’s civil rights. There has been likewise no evidence she acted

recklessly or with callous indifference.

         IV.       CONCLUSION

         For the foregoing reasons, Southern Health Partners, Inc. and Caitlin Brand respectfully


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request summary judgment in their favor on all of Plaintiff’s claims.



                                             Respectfully submitted,

                                             /s/ Aimee E. Muller______________
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                                             Katherine L. Kennedy (92606)
                                             Aimee E. Muller (96690)
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                                             aimee.muller@lewisbrisbois.com
                                             Phone: (859) 663-9830 | Fax: (859) 663-9829
                                             Attorneys for Defendants Southern Health Partners,
                                             Inc., and Caitlin Brand



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Motion was delivered via
electronic mail on the 16th day of September, 2022 as follows:

Donald Nageleisen, Esq.
2216 Dixie Highway, Suite 203
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Gary Franke, Esq.
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                                             /s/ Aimee E. Muller____________
                                             Aimee Muller (96690)
                                             Attorneys for Defendants
                                             Southern Health Partners, Inc. and Caitlin Brand



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                                                                            Page 1
                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                         AT COVINGTON
                               CIVIL ACTION NO.: 2:20-CV-101
                               JUDGE WILLIAM O. BERTELSMAN
                            MAGISTRATE JUDGE CANDACE J. SMITH


                                 ESTATE OF BRADLEY GROTE,
                                            PLAINTIFF


                                                V.


                            KENTON COUNTY, KENTUCKY, ET AL.,
                                           DEFENDANTS




            DEPONENT:      LUANNA GROTE
            DATE:          AUGUST 2, 2021
            REPORTER:      ELIZABETH HARLOW
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                                                                           Page 34
       1    family sandwich," and it talks about the triple-decker.

       2    And I'm just -- if you need to take a break?

       3           A     No.

       4           Q     Okay.    It says, "His ride came before he could

       5    bite."     Who was -- who's the ride that was picking him

       6    up?

       7           A     Bethany just -- she had just brought me back

       8    from the grocery store, and he had made the sandwich,

       9    and she was getting ready to leave, and he asked her for

      10    a ride.

      11           Q     So Brad would have been home by himself, and

      12    then you and Bethany come back from the store?

      13           A     Yes.

      14           Q     And Brad asks Bethany for a ride somewhere?

      15           A     Brad was alone when I left.          And then when I

      16    came back, the -- whoever the guy was was there.

      17           Q     Who's the guy?      Do you know?

      18           A     I don't know him.

      19           Q     Was he with -- go ahead.

      20           A     He was there with a -- with his girlfriend,

      21    and I think they had gotten into an argument, and she

      22    left him there.

      23           Q     Who's --

      24           A     I don't know these people.

      25           Q     All right.     Well, let me see if I can figure
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                                                                           Page 59
       1    it hypothesis or theory, of when Brad actually took the

       2    drugs that he overdosed on?

       3           A     I believe he took the drugs either as they got

       4    pulled over, or soon after.          I mean, I -- I'm not sure.

       5           Q     So before he got to the jail?

       6           A     Yeah.

       7           Q     Did anybody from the hospital ever tell you

       8    how much or what amount of drugs Brad had ingested?

       9           A     I don't remember.       They just said a lot.

      10           Q     They didn't --

      11           A     I mean, I don't think they knew, either.

      12           Q     They didn't tell you whether -- what the

      13    levels were in his bloodstream or his body?

      14           A     I don't think so.

      15           Q     Did they tell you they found any other drugs

      16    in his system, besides methamphetamine?

      17           A     She said they found a low amount of marijuana

      18    and a trace of fentanyl.

      19           Q     When you had heard that Brad had -- they had

      20    found methamphetamine in his system, did you think Brad

      21    was still using methamphetamine or that he had quit?

      22           A     I thought he was -- I thought he was -- I

      23    thought he quit.

      24           Q     Because that's what he had told you?

      25           A     He didn't -- yeah.       Well, yeah -- he didn't
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       1                      CERTIFICATE OF REPORTER

       2                 COMMONWEALTH OF KENTUCKY AT LARGE

       3
       4    I do hereby certify that the witness in the foregoing

       5    transcript was taken on the date, and at the time and

       6    place set out on the Title page hereof by me after first

       7    being duly sworn to testify the truth, the whole truth,

       8    and nothing but the truth; and that the said matter was

       9    recorded by me and then reduced to typewritten form

      10    under my direction, and constitutes a true record of the

      11    transcript as taken, all to the best of my skills and

      12    ability. I certify that I am not a relative or employee

      13    of either counsel, and that I am in no way interested

      14    financially, directly or indirectly, in this action.

      15
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      21
      22    ELIZABETH HARLOW,

      23    COURT REPORTER / NOTARY

      24    COMMISSION EXPIRES ON: 04/06/2022

      25    SUBMITTED ON: 08/13/2021
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                                                                            Page 1
                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                                AT COVINGTON
                     CIVIL ACTION NO.: 2:20-CV-101
                     JUDGE WILLIAM O. BERTELSMAN
                  MAGISTRATE JUDGE CANDACE J. SMITH


                        ESTATE OF BRADLEY GROTE,
                                  Plaintiff


                                      V.


                  KENTON COUNTY, KENTUCKY, ET AL.,
                                 Defendants




   DEPONENT:     SAMUEL MATTHEWS
   DATE:         SEPTEMBER 23, 2021
   REPORTER:     TAYLOR VENEMAN
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                                                                           Page 74
       1                          CERTIFICATE OF REPORTER

       2                              STATE OF OHIO

       3
       4    I do hereby certify that the witness in the foregoing

       5    transcript was taken on the date, and at the time and

       6    place set out on the Title page here of by me after

       7    first being duly sworn to testify the truth, the whole

       8    truth, and nothing but the truth; and that the said

       9    matter was recorded stenographically and mechanically by

      10    me and then reduced to type written form under my

      11    direction, and constitutes a true record of the

      12    transcript as taken, all to the best of my skill and

      13    ability. I certify that I am not a relative or employee

      14    of either counsel, and that I am in no way interested

      15    financially, directly or indirectly, in this action.

      16
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      20
      21
      22    TAYLOR VENEMAN,

      23    COURT REPORTER / NOTARY

      24    MY COMMISSION EXPIRES ON: 10/20/2025

      25    SUBMITTED ON: 10/06/2021
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                     EXHIBIT 6
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      THIS AGREEMENT between Kenton County, Kentucky (hereinafter referred to as
      "County"), and Southern Health Partners, Inc., a Delaware corporation, (hereinafter
      referred to as "SHP"), is entered into as of the day of             ,2015. Services
      under this Agreement shall commence on July 1,2015, and shall continue through
                                                                                     June
      30,2020, in accordance with Section 6.1.

                                            WITNESSETH:

             WHEREAS, County is charged by law with the responsibility for obtaining and
      providing reasonably necessary medical care for inmates or detainees of the
                                                                                  Kenton
      County Detention Center (hereinafter called "Jail") and,

           WHEREAS, County and Jailer desire to provide for health care to inmates in
     accordance with applicable law; and,

           WHEREAS, the Jailer and County, which provides funding as approved by the
     Kenton County Fiscal Court for the Jail, desire to enter into this Agreement with SHp to
     promote this objective; and,

           WHEREAS, SHP is in the business of providing conectional health care services
     under contract and desires to provide such services for County under the express terms
     and conditions hereof.

            NOW THEREFORE, in consideration of the mutual covenants and promises
     hereinafter made, the parties hereto agree as follows:


     ARTICLE l: HEALTH CARE SERV|CES.
            1.1 General Enoaqement. County hereby contracts with SHP to provide for the
     delivery of all medical, dental and mental health services to inmates of Jail. This care is
     to be delivered to individuals under the custody and control of County at the Jail, and SHp
     enters into this Agreement according to the terms and provisions hereof.

            1.2 Scope of General Servjces. The responsibility of SHP for medical care of
     an inmate commences with the booking and physical placement of said inmate into the
     Jail. The health care seryices provided by SHP shall be for all persons committed to the
     custody of the Jail, except those identified in Section 1.7. SHP shall provide and/or
     arrange for all professional medical, dental, mental health and related health care and
     administrative services for the inmates, regularly scheduled sick call, nursing care, regular
     physician care, medical specialty services, emergency medical care, emergency
     ambulance services when medically necessary, medical records management, pharmacy




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      services management, administrative support services, and other services, all as 111ora'
      specifically described herein.

              SHP shall be financially responsible for the costs of all physician and nurse
      staffing, over-the-counter medications, medical supplies, on-site clinical lab procedures,
      medical hazardous waste disposal, office supplies, forms, folders, files, travel expenses,
     publications, administrative services and nursing time to train officers in the
                                                                                     Jail on various
     medical matters. SHP's financial responsibility for the costs of all license permits and
     fees, emergency kits and restocking, prescription pharmaceuticals, x-ray procedures
     (inside and outside the Jail), all dental services (inside and outside the Jail) and
                                                                                                  all
     medical and mental health services rendered outside the Jail shall be limited by the
     annual cost pool described in Section 1.5 of this Agreement. All pool costs in excess of
     the annual cost pool limit shall be the financial responsibility of the County, or shall not
     othenrvise be the flnancial responsibility of SHp.

             1.3   Specialtv Services. In addition to providing the general services described
     above, SHP by and through its licensed health care providers shall arrange and/or provide
     to inmates at the Jail specialty medical services to the extent such are determined to be
     medically necessary by SHP. In the event non-emergency specialty care is required and
     cannot be rendered at the Jail, SHP shall make arrangements with County for the
     transportation of the inmates in accordance with Section 1 .g of this Agreement.

            1.4   Enerqencv Services. SHP shall arrange and/or provide emergency
     medical care, as medically necessary, to inmates through arrangements to be made by
     SHP.

     1.5     Limitations On Costs - Cost Pool. SHP shall, at its own cost, arrange for medical
     services for any inmate who, in the opinion of the Medical Director (hereinafter meaning
     a licensed SHP physician), requires such care. SHP's maximum liability for costi
     associated with all emergency kits and restocking of emergency kit supplies, all
     necessary license and permit fees, all prescription pharmaceuticals, all x-ray procedures
     (inside and outside the Jail), all dental services (inside and outside the'J'ail; anO all
     medical and mental health services for inmates rendered outside of the Jail will be limited
     by a pool established in the amount of $150,000.00 in the aggregate for all inmates in
     each year (defined as a twelve-month contract period) of this Agreement. lf the costs of
     all care as described in this Section 1.5 exceed the amount of $150,000.00 in anyyear,
     SHP will either pay for the additional services and submit invoices supporting the
     payments to the County along with an SHP invoice for one hundred percent (100%) of
     the costs in excess of $150,000.00, or in the alternative, will refer all additional qualifying
     invoices to County for payment directly to the provider of care. For all invoices payiOte
     to SHP as reimbursement for pool excess costs, such amounts shall ne pay'anie Oy
     County within thirty days of the SHP invoice date. After a grace period of sixty itays nai
     passed from the date of invoice, a late fee of two percent (2o/o) on the balance wiliapply
     each month thereafter until SHP has been reimbursed in full. For purposes of this Section




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      1.5, the pool amount will be prorated for any contract period of less or more than twelve
      months.

             lf the costs of all care as described in this Section 1.5 are less than $150,000.00
     in any year (defined as a twelve-month contract period), SHP will repay to County one
     hundred percent (100%) of the balance of unused cost pool funds up to the $150,000.00
     annual limit. County acknowledges that at the end of each contract period, the cost pool
     billing will remain open for approximately sixty days in order to allow reasonable time for
     processing of additional claims received after the new contract period begins and prior to
     issuing any such refund to County for unused cost pool funds. Specifically, the cost pool
     cut-off date will be August 31st based on a contract period schedule of July through June
     each year. SHP will continue to process cost pool payments applicable to the prior
     contract period through August 3lstand apply those amounts toward the prior year's cost
     pool limit. Any additional cost pool charges received subsequent to the August 3lstcut-
     off date which are applicable to the prior contract period will either be rolled over into the
     pool for the current contract period or be referred to County for payment direcfly to the
     provider of care.

             The intent of this Section 1.5 is to define SHP's maximum financial liability and
     limitation of costs for all emergency kits and restocking of emergency kit supplies, all
     necessary license and permit fees, all prescription pharmaceuticals, all x-ray procedures
     (inside and outside the Jail), all dental services (inside and outside the Jail), all
     hospitalizations and all other medical and mental health services rendered outside the
     Jail.

            1.6                                                           SHp shall not be
     financially responsible for the cost of any medical treatment or health care services
     provided to any inmate prior to the inmate's formal booking and commitment into the Jail.

           Furthermore, SHP shall not be financially responsible for the cost of medical
     treatment or health care services provided outside the Jail to medically stabilize any
     inmate presented at booking with a life threatening injury or illness or in immediate need
     of emergency medical care.

            Once an inmate has been medically stabilized and committed to the Jail, SHP will,
     commencing at that point, then become responsible for providing and/or arranging for all
     medical treatment and health care services regardless of the nature of the illness or injury
     or whether or not the illness or injury occurred prior or subsequent to the individual's
     incarceration at the Jail. An inmate shall be considered medically stabilized when the
     patient's medical condition no longer requires immediate emergency medical care or
     outside hospitalization so that the inmate can reasonably be housed inside the Jail.
     SHP's flnancial responsibility for such medical treatment and health care services shall
     be in accordance with, and as limited by, Sections 1 .2 and 1.5 of this Agreement.




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             It is expressly understood that SHP shall not be responsible for medical costs
     associated with the medical care of any infants born to inmates. SHP shall provide and/or
     arange for health care services to inmates up to, through, and after the birth process, but
     SHP shall not be responsible for the cost of health care services provided to an infant
     following birth, other than those services that may be delivered in the Jail prior to transport
     to a hospital. In any event, SHP shall not be responsible for the costs associated with
     performing or furnishing of abortions of any kind.

            1-7                                      The health care services contracted in the
     Agreement are intended only for those inmates in the actual physical custody of the Jail
     and for inmates held under guard in outside hospitals or other medical facilities who
     remain in official custody of the Jail. Inmates held under guard in outside hospitals or
     other medical facilities are to be included in the Jail's daily population count. No other
     person(s), including those who are in any outside hospital who are not under guard, shall
     be the financial responsibility of SHP, nor shall such person(s) be included in the daily
     population count.

           Inmates on any sort of temporary release or escape, including, but not limited to
     inmates temporarily released for the purpose of attending funerals or other family
     emergencies, inmates on escape status, inmates on pass, parole or supervised custody
     who do not sleep in the Jail at night, shall not be included in the daily population count,
     and shall not be the responsibility of SHP with respect to the payment or the furnishing of
     their health care services.

             The costs of medical services rendered to inmates who become ill or who are
     injured while on such temporary release or work-release shall not then become the
     financial responsibility of SHP after their return to the Jail. This relates solely to the costs
     associated with treatment of a particular illness or injury incurred by an inmate while on
     such temporary release. In all cases, SHP shall be responsible for providing medical care
     for any inmate who presents to medical staff on-site at the Jail to the extent such care
     can be reasonably provided on-site, or shall assist with arrangements to obtain outside
     medical care as necessary. The costs of medical services associated with a particular
     illness or injury incurred by an inmate while on temporary release or work-release may
     be the personal responsibility of the inmate, or covered by workers' compensation,
     medical insurance, accident insurance, or any other policy of insurance or source of
     payment for medical and hospital expenses. In the absence of adequate insurance
     coverage, or other source of payment for medical care expenses, such costs may, at the
     election of the County, be applied toward the annual cost pool described in Section No.
     1.5. Such costs shall not otherwise be the financial responsibility of SHP.




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                                                                                                     )
            Persons in the physical custody of other police or other penaljurisdictions at the
     request of County, by Court order or otherwise, are likewise excluded from the
                                                                                          Jail's
     population count and are not the responsibility of SHP for the furnishing or payment
                                                                                              of
     health care services.

             1.8    Elective Medical Care. SHP shall not be responsible for providing elective
     medical care to inmates, unless expressly contracted for by the County. for purposes of
     this Agreement, "elective medical care" means medical care which, if not provided, would
     not, in the opinion of SHP's Medical Director, cause the inmate's health to deteriorate or
     cause definite harm to the inmate's well-being. Any referral of inmates for elective
     medical care must be reviewed by County prior to provision of such services.

            1.9 Transportation Services. To the extent any inmate requires off-site non-
     emergency health care treatment including, but not limited to, hospitalization care and
     specialty services, for which care and services SHP is obligated to arrange under this
     Agreement, County shall, upon prior request by SHp, its agents, employees or
     contractors, provide transportation as reasonably available provided that such
     transportation is scheduled in advance. When medically necessary, SHp shall arrange
     all emergency ambulance transportation of inmates in accordance with Section 1.4 of this
     Agreement.

     ARTICLE ll: PERSONNEL.
            2.1    Staffinq. SHP shall provide medical and support personnet reasonably
     necessary for the rendering of health care services to inmates at the Jail as described in
     and required by this Agreement. County acknowledges that, there will be an allowance
     for a reasonable number of absences for medical staff vacation and sick days, and further
     that SHP reserves the right to make adjustments to the regular staffing schedule to
     provide coverage on SHP-designated holidays.

            2.2                                                                    All personnel
     provided or made available by SHP to render services hereunder shall be licensed,
     certified or registered, as appropriate, in their respective areas of expertise as required
     by applicable Kentucky law.

            2.3                                                                lf County becomes
     dissatisfled with any health care personnel provided by SHP hereunder, or by any
     independent contractor, subcontractors or assignee, SHP, in recognition of the sensitive
     nature of correctionalservices, shall, following receipt of written notice from County of the
     grounds for such dissatisfaction and in consideration of the reasons therefor, exercise its
     best efforts to resolve the problem. lf the problem is not resolved satisfactorily to County,
     SHP shall remove or shall cause any independent contractor, subcontractor, or assignee
     to remove the individual about whom County has expressed dissatisfaction. Should
     removal of an individual become necessary, SHP will be allowed reasonable time, prior




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      to removal, to find an acceptable replacement, without penalty or any prejudice to the
      interests of SHP.

            2_4                                                             Inmates shall not
     be employed or othenrvise engaged by either SHP or County in the direct rendering
                                                                                       of any
     health care services.

            2.5                                     In order to discharge its obligations
     hereunder, SHP shall engage certain health care professionals as indepLndent
     contractors rather than as employees. County consents to such subcontracting
                                                                                           or
     delegation. As the relationship between SHP and these health care professionals will be
     that of independent contractor, SHP shall not be considered or deemed to be engaged in
     the practice of medicine or other professions practiced by these professionals. SHp shall
     not exercise control over the manner or means by which these independent contractors
     perform their professional medical duties. However, SHP shall exercise administrative
     supervision over such professionals necessary to insure the strict fulfillment of the
     obligations contained in this Agreement. For each agent and subcontractor, including all
     medical professionals, physicians, dentists and nurses performing duties as agents or
     independent contractors of SHP under this Agreement, SHP shall provide County proof,
     if requested, that there is in effect a professional liability or medical malpractice insurance
     policy, as the case may be, in an amount of at least one million dollars ($1,000,000.00)
     coverage per occurrence and five million dollars ($5,000,000.00) aggregate.

            2.6 Discrimination. During the performance of this Agreement, SHp, its
     employees, agents, subcontractors, and assignees agree as follows:

                   a. None will discriminate against any employee or applicant for
                        employment because of race, religion, color, sex or national origin,
                        except where religion, sex or national origin is a bona fide occupational
                        qualification reasonably necessary to the normal operation of the
                        contractor.

                   b.   In all solicitations or advertisements for employees, each will state that
                        it is an equal opportunity employer.

                   c. Notices, advertisements and solicitations placed in accordance with
                        federal law, rule or regulation shall be deemed sufficient for the purpose
                        of meeting the requirements of this section.




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             3.1 Medical Records. County acknowledges that SHP's responsibility for all
      inmate medical records shall commence on the effective date of this Agreement, and
                                                                                             that
      the responsibility for all inmate medical records prior to the effective date of this
      Agreement shall rest solely with the county. Nothing in this Agreement shall be
      interpreted to impose responsibility on SHP for inmate medical records prior to the
     effective date of this Agreement. County does further acknowledge, however, that
                                                                                         SHp
     will assist County with the fulfillment of requests for production of medical records for
     those medical services provided prior to the effective date of this Agreement, and by doing
     so does not assume any responsibility for such records. lt is mutually understood by both
     parties that, during the term of this Agreement, SHP shall serve as the Records
                                                                                      Custodian
     in all medical record matters, in accordance with all applicable laws.

            Commencing on the effective date of this Agreement, SHP shallcause and require
     to be maintained a complete and accurate medical record for each inmate who has
     received health care services. Each medical record will be maintained in accordance with
     applicable laws and County's policies and procedures. The medical records shall be kept
     separate from the inmate's confinement record. A complete legible copy of the applicable
     medical record shall be available, at all times, to County as custodian of the person of the
     patient. Medical records shall be kept confidential. Subject to applicable law regarding
     confidentiality of such records, SHP shall comply with Kentucky law, including but not
     limited to KRS 422.317, and County's policy with regard to access by inmates and Jail
     staff to medical records. No information contained in the medical records shall be
     released by SHP except as provided by County's policy, by a court order, or otherwise in
     accordance with the applicable law. SHP shall, at its own cost, provide all medical
     records, forms, jackets, and other materials necessary to maintain the medical records.
     At the termination of this Agreement, all medical records shall be delivered to and remain
     with County. However, County shall provide SHP with reasonable ongoing access to all
     medical records even after the termination of this Agreement for the purposes of
     defending litigation.



             County has elected to implement an electronic medical records system and
     acknowledges that SHP has incorporated the total purchase price of the system into
     SHP's base contract fee, to be paid to SHP by County monthly, amortized over a period
     of twelve months, beginning on the effective date of this Agreement. County further
     acknowledges that, with the exception of the initial system license fee, which will be paid
     by SHP, and the monthly upgrades, usage and hosting fees, the County will be financially
     responsible for all costs to integrate the system, and all equipment necessary to facilitate
     use of the system. After a period of twelve months beginning on the effective date of this
     Agreement, provided the County has paid in full the electronic medical records system
     purchase price to SHP, the amount of base contract compensation to SHP shall be
     reduced accordingly. In the event this Agreement should terminate prior to the expiration




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     of the first full twelve month depreciation term, County may opt to purchase the system
     for the amount of the un-depreciated balance.

            3-2 Reoular Reports bv SHP to Countv. SHP shall provide to County, on a date
     and in a form mutually acceptable to SHP and County, monthly statistical reports relating
     to services rendered under this Agreement.

            3.3 Inmate Information. Subject to the applicable Kentucky law, in order to
     assist SHP in providing the best possible health care services to inmates, County shall
     provide SHP with information pertaining to inmates that SHP and County mutually identify
     as reasonable and necessary for SHP to adequately perform its obligations hereunder.

            3.4                                                                     SHp shatl
     make available to County, at County's request, records, documents and other papers
     relating to the direct delivery of health care services to inmates hereunder. County
     understands that written operating policies and procedures employed by SHp in the
     performance of its obligations hereunder are proprietary in nature and shall remain the
     property of SHP and shall not be disclosed without written consent. Information
     conceming such may not, at any time, be used, distributed, copied or othenryise utilized
     by County, except in connection with the delivery of health care services hereunder, or
     as permitted or required by law, unless such disclosure is approved in advance writing by
     SHP. Proprietary information developed by SHP shall remain the property of SHP.

            3.S                                                                          During
     the term of this Agreement and for a reasonable time thereafter, County shall provide
     SHP, at SHP's request, County's records relating to the provision of health care seryices
     to inmates as may be reasonably requested by SHP or as are pertinent to the
     investigation or defense of any claim related to SHP's conduct. Consistent with applicable
     law, County shall make available to SHP such inmate medical records as are maintained
     by County, hospitals and other outside health care providers involved in the care or
     treatment of inmates (to the extent County has any control over those records) as SHP
     may reasonably request. Any such information provided by County to SHP that County
     considers confidential shall be kept confidential by SHP and shall not, except as may be
     required by law, be distributed to any third party without the prior written approval of
     County.

     ARTICLE lV: SECURITY
            4.1 General. SHP and County understand that adequate security services are
     essential and necessary for the safety of the agents, employees and subcontraclors of
     SHP as well as for the security of inmates and County's staff, consistent with the
     correctional setting. County shall take all reasonable steps to provide sufficient security
     to enable SHP to safely and adequately provide the health care services described in this
     Agreement. lt is expressly understood by County and SHP that the provision of security




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      and safety for the SHP personnel is a continuing precondition of SHp's obligation to
      provide its services in a routine, timely, and proper fashion.

            4-2    Loss of Eouipment and Suoplies. County shall not be liable for loss of or
     damage to equipment and supplies of SHP, its agents, employees or subcontractors
     unless such loss or damage was caused by the negligence of County or its employees.

            4.3                                               Coung shall provide prompt and
     timely security as medically necessary and appropriate in connection with the
     transportation of any inmate between the Jail and any other location for off-site services
     as contemplated herein.

                                                                             P
            5.1 General. County agrees to provide SHP with reasonable and adequate
     office and medical space, facilities, equipment, local telephone and telephone line and
     utilities and County will provide necessary maintenance and housekeeping of the office
     space and facilities.

            5.2 Deliverv of Possession. County will provide to SHP, beginning on the date
     of commencement of this Agreement, possession and control of all County medical and
     office equipment and supplies in place at the Jail's health care unit. At the termination of
     this or any subsequent Agreement, SHP will return to County's possession and control
     all supplies, medical and office equipment, in working order, reasonable wear and tear
     excepted, which were in place at the Jail's health care unit prior to the commencement of
     services under this Agreement.

             5.3                                                   Except for the equipment
     and instruments owned by Coun$ at the inception of this Agreement, any equipment or
     instruments required by SHP during the term of this Agreement shall be purchased by
     SHP at its own cost. At the end of this Agreement, or upon termination, County shall be
     entitled to purchase SHP's equipment and instruments at an amount determined by a
     mutually agreed depreciation schedule.

              5.4 General Maintenance Services. County agrees that it is proper for SHP to
     provide each and every inmate receiving health care seruices the same services and
     facilities available to, and/or provided to, other inmates at the Jail.

                                                    F AGREEMENT

            6.1 Term. This Agreement shall commence on July 1,2015. The initial term of
     this Agreement shall end on June 30, 2016, and shall be automatically extended for
     additional one-year terms, subject to County funding availability, unless either party
     provides written notice to the other of its intent to terminate at the end of the period.




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            6.2 Termination. This Agreement, or any extension thereof, may be
     terminated as otherwise provided in this Agreement or as follows:

                   a.     Termination by agreement. In the event that each party mutually
                          agrees in writing, this Agreement may be terminated on the terms
                          and date stipulated therein.

                   b.     Termination by Cancellation. This Agreement may be canceled
                          without cause by either party upon sixty (60) days prior written notice
                          in accordance with Section 9.3 of this Agreement.

                   c.     Annual Appropriations and Funding. This Agreement shall be
                          subject to the annual appropriation of funds by the Kenton County
                          Fiscal Court. Notwithstanding any provision herein to the contrary,
                          in the event funds are not appropriated for this Agreement, County
                          shall be entitled to immediately terminate this Agreement, without
                          penalty or liability, except the payment of all contract fees due under
                          this Agreement through and including the last day of service.

            6.3                                             Upon termination of this Agreement,
     all responsibility for providing health care services to all inmates, including inmates
     receiving health care services at sites outside the Jail, shall be transferred from SHP to
     County.

     ARTICLE VII. COMPENSATION.
            7.1 Base Compensation. County will pay to SHP the total annualized price of
     $920,640.00 during the initial term of this Agreement, payable in monthly installments.
     Monthly installments will be billed separately for medical and mental health services
     respectively. Monthly installments for all medical services during the initial term of this
     Agreement will be in the amount of $73,085.36 each. Monthly installments for all mental
     health services during the initial term of this Agreement will be in the amount of $3,634.64
     each. SHP will bill County approximately thirty days prior to the month in which services
     are to be rendered. County agrees to pay SHP prior to the tenth day of the month in
     which services are rendered. In the event this Agreement should commence or terminate
     on a date other than the first or last day of any calendar month, compensation to SHP will
     be prorated accordingly for the shortened month.

            7.2     lncreases in Inmate Population. County and SHP agree that the annual
     base  price is calculated based upon an average daily inmate population of up to 750. At
     any time while under this Agreement, County has the right to renegotiate terms based on a
     higher population limitation.




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            7.3 Future Years' Compensation. The amount of compensation (i.e., annual
     base price and per diem rate as defined in Sections 7.1 and 7.2, respectively) to SHP
     shall increase at the beginning of each contract year. The amount of compensation shall
                                                                     ,
     remain the same for the renewal period effective July 1 2016. The amount of
     compensation shall increase by two percent (2o/o)for the renewal period effective July 1,
     2017, and by two percent (2o/o) for the renewal period effective July 1 , 2018, and by two
     percent (2o/o) for the renewal period etfective July 1 ,2019. SHP shall provide written
     notice to County of the amount of compensation increase requested for renewal periods
     effective on or after July 1,2020, or shall othenrvise negotiate mutually agreeable terms
     with County prior to the beginning of each annual renewal period.

            7.4    lnmates From Other Jurisdictions. Medical care rendered within the Jail to
     inmates from jurisdictions outside Kenton County, and housed in the Jail pursuant to
     written contracts between County and such other jurisdictions will be the responsibility of
     SHP, but as limited by Section 1.7. Medical care that cannot be rendered within the Jail
     will be arranged by SHP, but SHP shall have no financial responsibility for such services
     to those inmates.

             .5
             7                                                   SHP and County agree that SHP
     will be responsible for providing on-site medical services as reasonable and appropriate
     to County inmates assigned to work release and/or release for community service work
     for government or nonprofit agencies upon an inmate's presentation to SHP medical staff
     at the Jail. Notwithstanding any other provisions of this Agreement to the contrary, SHP
     and County agree that County inmates assigned to work release, including work for
     Kenton County agencies, are themselves personally responsible for the costs of any
     medical services performed by providers other than SHP, when the illness or injury is
     caused by and results directly or indirectly from the work being performed, or when such
     illness or injury is treated while the inmate is on work release. The costs of medical
     services associated with a particular illness or injury incurred by an inmate while on work-
     release may be covered by workers' compensation, medical insurance, accident
     insurance, or any other policy of insurance or source of payment for medical and hospital
     expenses, but such costs shall not othenvise be the financial responsibility of SHP. In all
     cases, SHP shall be responsible for providing medical care for any inmate who presents
     to medical staff on-site at the Jail, including any inmate injured or infirmed while on work
     release or release for community service, to the extent such care can be reasonably
     provided on-site, or shall assist with anangements to obtain outside medical care as
     necessary.

     ARTICLE Vlll: LIABILITY AND RISK MANAGEMENT.
            8.1 Insurance. At all times during this Agreement, SHP shall maintain
     professional liability insurance covering SHP for its work at County, its employees and its
     officers in the minimum amount of at least one million dollars ($1,000,000.00) per
     occurrence and five million dollars ($5,000,000.00) in the aggregate. SHP shall provide




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     County with a Certificate of Insurance evidencing such coverage and shall have County
     named as an additional insured. In the event of any expiration, termination or modification
     of coverage, SHP will notify County in writing.

             8.2    Lawsuits Aqainst Countv. In the event that any lawsuit (whether frivolous
     or othenruise) is filed against County, its elected officials, employees and agents based
     on or containing any allegations concerning SHP's medical care of inmates and the
     performance of SHP's employees, agents, subcontractors or assignees, the parties agree
     that SHP, its employees, agents, subcontractors, assignees or independent contractors,
     as the case may be, may be joined as parties defendant in any such lawsuit and shall be
     responsible for their own defense and any judgments rendered against them in a court of
     law.

           Nothing herein shall prohibit any of the parties to this Agreement from joining the
     remaining parties hereto as defendants in lawsuits filed by third parties.

            8.3    Hold Harmless. SHP agrees to indemnify and hold harmless the Jailer, the
     County, its agents and employees from and against any and all claims, actions, lawsuits,
     damages, judgments or liabilities of any kind arising solely out of the aforementioned
     program of health care services provided by SHP. This duty to indemnify shall include all
     attorneys' fees and litigation costs and expenses of any kind whatsoever. The Jailer shall
     promptly notify SHP of any incident, claim, or lawsuit of which the Jailer becomes aware
     and shallfully cooperate in the defense of such claim, but SHP shall retain sole control of
     the defense while the action is pending, to the extent allowed by law. In no event shall
     this agreement to indemnify be construed to require SHP to indemnify the Jailer, the
     County, its agents and/or employees from the Jailer's, the County's, its agents' and/or
     employees' own negligence and/or their own actions or inactions.

              County does hereby agree to indemnify and hold harmless SHP, its agents and
     employees from and against any and all claims, actions, lawsuits, damages, judgments
     or liabilities of any kind arising solely out of the operation of the facility and the negligence
     and/or action or inaction of the Jailer, the County or their employees or agents. This duty
     to indemnify shall include all attorneys' fees and litigation costs and expenses of any kind
     whatsoever. SHP shall promptly notify the County of any incident, claim, or lawsuit of
     which SHP becomes aware and shall fully cooperate in the defense of such claim, but the
     County shall retain sole control of the defense while the action is pending, to the extent
     allowed by law. In no event shall this agreement to indemnify be construed to require the
     County to indemnify SHP, its agents and/or employees from SHP's, its agents' and/or
     employees' own negligence and/or their own actions or inaclions.

     ARTICLE lX: MISGELLANEOUS.
            9.1   Independent Contractor Status. The parties acknowledge that SHP is an
     independent contractor engaged to provide medical care to inmates at the Jail under the




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     direction of SHP management. Nothing in this Agreement is intended nor shall bel3
     construed to create an agency relationship, an employer/employee relationship, or a joint
     venture relationship between the parties.

            9.2    Assionment and Subcontractino. SHP shall not assign this Agreement to
     any other corporation without the express written consent of County which consent shall
     not be unreasonably withheld. Any such assignment or subcontract shall include the
     obligations contained in this Agreement. Any assignment or subcontract shall not relieve
     SHP of its independent obligation to provide the services and be bound by the
     requirements of this Agreement.

            9.3 Notice. Unless otherwise provided herein, all notices or other
     communications required or permitted to be given underthis Agreement shall be in writing
     and shall be deemed to have been duly given if delivered personally in hand or sent by
     certified mail, return receipt requested, postage prepaid, and addressed to the
     appropriate party(s) at the following address or to any other person at any other address
     as may be designated in writing by the parties:




            a.     County:      Kenton County Fiscal Court
                                303 Court Street, Room 207
                                Covington, KY 41011

            b.    SHP:          Southern Health Partners, Inc.
                                2030 Hamilton Place Boulevard, Suite 140
                                Chattanooga, Tennessee 37421
                                Attn: President

     Notices shall be effective upon receipt regardless of the form used.

            9-4      Govemino Law and Disputes. This Agreement and the rights and
     obligations of the parties hereto shall be governed by, and construed according to, the
     laws of the Commonwealth of Kentucky, except as specifically noted. Disputes between
     the Parties shall, first, be formally mediated by a third party or entity agreeable to the
     Parties, in which case the Parties shall engage in good faith attempts to resolve any such
     dispute with the Mediator before any claim or suit arising out of this Agreement may be
     filed in a court of competent jurisdiction.

           9.5 Entire Aqreement. This Agreement constitutes the entire agreement of the



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     parties and is intended as a complete and exclusive statement of the promises,
     representations, negotiations, discussions and agreements that have been made in
     connection with the subject matter hereof. No modiflcations or amendment to this
     Agreement shall be binding upon the parties unless the same is in writing and signed by
     the respective parties hereto. All prior negotiations, agreements and understandings with
     respect to the subject matter of this Agreement are superseded hereby.

            9.6 Amendment. This Agreement may be amended or revised only in writing
     and signed by all parties.

            9.7     Waiver of Breach. The waiver by either party of a breach or violation of any
     provision of this Agreement shall not operate as, or be construed to be, a waiver of any
     subsequent breach of the same or other provision hereof.

             9.8 Other Contracts and Third-Partv Beneficiaries. The parties acknowledge
     that SHP is neither bound by nor aware of any other existing contracts to which County
     is a party and which relate to the providing of medical care to inmates at the Jail. The
     parties agree that they have not entered into this Agreement for the benefit of any third
     person or persons, and it is their express intention that the Agreement is intended to be
     for their respective benefit only and not for the benefit of others who might othenryise be
     deemed to constitute third-party beneficiaries hereof.


            9.9      Severabilitv. In the event any provision of this Agreement is held to be
     unenforceable for any reason, the unenforceability thereof shall not affect the remainder
     of the Agreement which shall remain in full force and effect and enforceable in accordance
     with its terms.

           9.10 Liaison. The Kenton County Jailer or his designee shall serve as the liaison
     with SHP.

            9.11 Cooperation. On and after the date of this Agreement, each party shall, at
     the request of the other, make, execute and deliver or obtain and deliver all instruments
     and documents and shall do or cause to be done all such other things which either party
     may reasonably require to effectuate the provisions and intentions of this Agreement.

           9.12 Time of Essence. Time is and shall be of the essence of this Agreement.
            9.13 Authoritv. The parties signing this Agreement hereby state that they have
     the authori$ to bind the entity on whose behalf they are signing.

            9.14 Bindino Effect. This Agreement shall be binding upon the parties hereto,
     their heirs, administrators, executors, successors and assigns.




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               9.15                    owers. Except as expressly limited by the terms of this
        Agreement, all rights, powers and privileges conferred hereunder shall be cumulative and
        not restrictlve of those provided at law or in equity.




        lN WITNESS WHEREOF, the parties have executed this Agreement in their official
        capacities with legal authority to do so.

                                     KENTON




                                     Date:
       ATTEST:




       Date:




                                                     President and Chief Executive Officer




                                                                                      SHP000140
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          Lastname   Firstname   Home HomeAllocat       Pay    InPunchT OutPunc Allocatio Earn Earn       Dollars       Home      Home     Home      Home    Home       Dist      Dist     Dist      Distributed
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EECode
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A072     BRAND       CAITLIN     7170   Kenton County FTH      2019-07-192019-07-19Kenton Cou      7.75             0 Kenton Count 03     KY       Default   Default   Kenton Count 03   KY         7170
A0JP     DOCKERY     TIARA       7170   Kenton County FTH      2019-07-192019-07-19Kenton Cou         5             0 Kenton Count 03     KY       Default   Default   Kenton Count 03   KY         7170
A0JP     DOCKERY     TIARA       7170   Kenton County FTH      2019-07-192019-07-19Kenton Cou         7             0 Kenton Count 03     KY       Default   Default   Kenton Count 03   KY         7170
A3W7     RADOMILE    NIKOLAI     7170   Kenton County FTH      2019-07-192019-07-19Kenton Cou         5             0 Kenton Count 03     KY       Default   Default   Kenton Count 03   KY         7170
A3W7     RADOMILE    NIKOLAI     7170   Kenton County FTH      2019-07-202019-07-20Kenton Cou         7             0 Kenton Count 03     KY       Default   Default   Kenton Count 03   KY         7170
A095     RAY         SHAWNEE     7170   Kenton County FTH      2019-07-192019-07-19Kenton CouPTO      8             0 Kenton Count 03     KY       Default   Default   Kenton Count 03   KY         7170




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                               AT COVINGTON
                       CASE NUMBER: 2:20-CV-101



        ESTATE OF BRADLEY GROTE,                  PLAINTIFF,


                vs.


        KENTON COUNTY, KENTUCKY,                  DEFENDANT.




                              * * * * * * * *
        DEPONENT:             CAITLIN MARIE BRAND
        DATE:                 August 4, 2021
                              * * * * * * * *


  LEE ANN GOFF
  COURT REPORTER



                           B a r l o w
                              Raising the Bar
                      Reporting & Video Services, LLC
                           620 Washington Street
                         Covington, Kentucky 41011
                              (859) 261-8440




                Barlow Reporting & Video Services, LLC
                            (859) 261-8440
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                                                                                Page 98
1               Q.     Okay.     So it says, late entry for 7/19/19.
2          At approximately 1659 -- okay, where did you get the
3          1659?
4               A.     It would have been a time I wrote on the
5          glove.
6               Q.     Okay.     This LPN was called via radio to come
7          to booking, nonemergency.          Where did you get the
8          nonemergency information?
9               A.     On the radio.
10              Q.     Well, did you have that on your glove?
11              A.     No.     It was on the radio.
12              Q.     Are the radio -- is the radio transcribed
13         somewhere, all the communications?
14              A.     No, not that I'm aware of.
15              Q.     Okay.     So you, you put in nonemergency
16         because you recall now -- or then that it was a
17         nonemergency that you were called for?
18              A.     Yes.
19              Q.     Okay.     Did you make an assessment as to
20         whether or not it was an emergency situation when you
21         got there?
22              A.     Yes.
23              Q.     What did you do to assess whether or not it
24         was an emergency situation when you got there?
25              A.     I took his vitals, asked him what he had


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                                                                                Page 91
1          exactly.
2               Q.     How do you spell it?
3               A.     It's like O-O-W-S or S-O-W-S.
4               Q.     Okay.     Tell me what the guideline --
5          guidelines are.
6               A.     I don't recall at this time.
7               Q.     Well, are those guidelines in the medical
8          staff office?
9               A.     They would have been.
10              Q.     Okay.     Now, I assume when you are working
11         for Crossroads, you assess patients for
12         methamphetamine use; correct?
13              A.     No.     We don't deal with methamphetamines.
14              Q.     Okay.     All right.     Well, tell me how you
15         assessed Mr. Grote for methamphetamine use on July
16         19th, 2019, when you first saw him in booking?
17              A.     I took his vitals.        Asked Mr. Grote what he
18         had taken and how much he had taken.             And his
19         response was a half gram.
20              Q.     Did you do anything else?
21              A.     And then eventually moved him to the
22         observation cells, provided oxygen.
23              Q.     Anything else?
24              A.     And then once I put him on -- got his oxygen
25         to a level that was okay to be at, left him on


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1                                             )
       COMMONWEALTH OF KENTUCKY               )
2                                             )
3
4                   I, Lee Ann Goff, Notary Public in and for the
5      Commonwealth of Kentucky, do hereby certify:
6                   That the witness named in the deposition,
7      prior to being examined, was by me duly sworn;
8                   That said deposition was taken before me at
9      the time and place therein set forth and was taken down
10     by me in shorthand and thereafter transcribed into
11     typewriting under my direction and supervision;
12                  That said deposition is a true record of the
13     testimony given by the witness and of all objections
14     made at the time of the examination.
15                  I further certify that I am neither counsel
16     for nor related to any party to said action, nor in any
17     way interested in the outcome thereof.
18                  IN WITNESS WHEREOF I have subscribed my name
19     and affixed my seal this 18th day of August, 2021.
20
21                                      ________________________
22                                      Lee Ann Goff
23                                      Notary Public KYNP30963
24
25     My Commission Expires:         7/1/25


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This is to cenify that this is a true and correct copy of the certificate of birth, death, marriage or divorce of the person therein named,
and that the original certificate is registered at the Kentucky Office ofVital Statistics under the file number shown.

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                                            UNITED STATES DISTRICT COURT


                                            EASTERN DISTRICT OF KENTUCKY


                                                    AT COVINGTON




                       ESTATE OF BRADLEY GROTE,                    )   Civil Action No.:


                                            Plaintiff,             )   2:20-CV-101


                                                                   )


                       vs.                                         )         DEPOSITION OF


                                                                   )   DR. JEFFREY ERNEST KELLER


                       KENTON COUNTY, KENTUCKY et al.,             )        AUGUST 17, 2022


                                            Defendants.            )


                       __________________________________          )




                            REPORTED REMOTELY BY:


                            MARLENE "MOLLY" WARD, CSR No. 704, RPR




                            Notary Public




                            Magna Legal Services




                            866-624-6221




          www.MagnaLS.com
Case: 2:20-cv-00101-WOB-CJS Doc #: 137 Filed: 09/16/22 Page: 85 of 86 - Page ID#:
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                                                                                                   Page 8
       1   m e t h a m p h e t a m i n e c a u s e s d i f fe re nt s y m p t o m s a t d i f f e r e n t

       2   levels in people.                S o o v e r do se i s k i n d o f a n o l d e r t e r m ,

       3   a n d t h e d e g r e e o f i n t o x i c a ti on d o e s n ' t r e l a t e ,

       4   n e c e s s a r i l y , t o t h e a m o u n t o f dr u g i n g e s t e d , a n d s o m e

       5   p e o p l e h a v e a b a d r e a c t i o n t o ve r y l i t t l e d r u g , a n d s o m e

       6   p e o p l e c a n t o l e r a t e a l o t of d ru g .          So the better term

       7   is intoxication.

       8             Q.      Okay.       S o t h e n t he re i s r e a l n o d i s t i n c t i o n

       9   j u s t i n t e r m s o f t h e s i g n s a nd s y m p t o m s o f i n t o x i c a t i o n

     10    a n d o v e r d o s e ; i s t h a t r i g h t?

     11              A.      T h e y r e f e r t o t h e sa me p r o c e s s .

     12              Q.      A n d t h e m o r e m e t ha mp he t a m i n e y o u t a k e t h e

     13    g r e a t e r o r t h e m o r e e x a c e r ba te d t h e s y m p t o m s m i g h t b e ,

     14    b u t o v e r a l l t h e y ' r e t h e s a me s ym p t o m s , r e s t l e s s n e s s ,

     15    s w e a t i n e s s , a n x i e t y , t w i t c hi ne ss , t h i n g s l i k e t h a t ?

     16              A.      Right.

     17              Q.      N o w , i s m e t h a m p h et am in e i n t o x i c a t i o n ,

     18    D r . K e l l e r , t h a t i n a n d o f i ts el f i s n o t n e c e s s a r i l y a

     19    m e d i c a l e m e r g e n c y ; w o u l d y ou a gr e e w i t h t h a t ?

     20              A.      I t d e p e n d s o n t h e se ve r i t y .       It's like saying

     21    a h e a r t a t t a c k i s n o t a m e di ca l e m e r g e n c y , s o m e p e o p l e

     22    h a v e a m i l d h e a r t a t t a c k i t' s no t , s o m e p e o p l e a r e

     23    dying.         S a m e t h i n g w i t h m e th , so m e p e o p l e h a v e m i l d

     24    s y m p t o m s a n d i t ' s n o t a m e di ca l e m e r g e n c y , s o m e p e o p l e

     25    are dying.
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                                                                                                  Page 62
       1                                  R E P O R T E R ' S C ER T I F IC A T E

       2                    I , M A R LE N E " M O L L Y " W AR D , CS R No . 7 04 ,

       3   R e g i s t e r e d P r o f e ss i o n a l R e p o r t er , c er t i fy :

       4                    T h a t t he f o r e g o i n g p ro c e e di n g s w e r e ta k e n

       5   b e f o r e m e a t t h e t i m e a n d p l a c e t h e re i n s e t fo rt h , a t

       6   w h i c h t i m e t h e w it n e s s w a s p u t u n d e r o a th b y m e;

       7                    T h a t t he t e s t i m o n y a nd a l l o b je c t i on s m a d e

       8   w e r e r e c o r d e d s t en o g r a p h i c a l l y b y m e a n d t r a ns cr i b e d by

       9   m e o r u n d e r m y d ir e c t i o n ;

     10                     T h a t t he f o r e g o i n g i s a t ru e an d c or re c t

     11    r e c o r d o f a l l t e st i m o n y g i v e n , t o t he b es t o f my

     12    ability;

     13                     I f u r t he r c e r t i f y t h at I am n ot a re la t i v e or

     14    e m p l o y e e o f a n y at t o r n e y o r p a rt y , no r am I fi na n c i a l ly

     15    interested in the action.

     16                     I N W I T NE S S W H E R E O F , I s e t m y ha n d an d s e a l

     17    this 31st day of                 August          , 2 02 2 .

     18
     19
     20                              _ __ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ __ _ _ __ _ _ _ __ _

     21                              M AR L E N E " M O L L Y " W A R D , C S R, R P R

     22                              N ot a r y P u b l i c

     23                              P .O . B o x 2 6 3 6

     24                              B oi s e , I d a h o     8 37 0 1 - 26 3 6

     25    M y C o m m i s s i o n e x pi r e s J u l y 1 1 , 2 0 2 6
